                 IN THE DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                           CRIMINAL NO.: 5:05-CR-258

UNITED STATES OF AMERICA        )
          Plaintiff/Appellee    )
                                )
           v.                   )
                                )
ROBERT JAMES CRISP,             )
                                )
           Defendant/Appellant. )
________________________________)


                                        ORDER

       THIS MATTER is before the Court on Defendant’s Motion to Allow Use of Grand

Jury Transcript in Appeal (Doc. 295) filed May 10, 2011; and Defendant’s Motion for

Provision of Statement of Reasons (Doc. 297) filed May 10, 2011.

       In an Order dated January 5, 2010, this Court granted Defendant’s motion for

grand jury transcripts (Doc. 261.) The transcripts were subsequently delivered to

counsel for Defendant. On April 16, 2010, this Court issued an Order that defense

counsel “shall not cite the grand jury transcripts in his appellate briefs or include them in

the joint appendix without a particularized showing of need.” (Doc. 270.)

       Defendant’s current motion asks this Court for permission to include portions of

the grand jury proceeding in the joint appendix so that Defendant may cite to it in his

appellate brief. Defendant argues that a significant basis for his appeal concerns the

testimony of the case agent during the grand jury proceeding. As such, Defendant

argues that “it is altogether proper and necessary” for certain portions of the grand jury

proceeding to be included as part of the joint appendix.




   Case 5:05-cr-00258-FDW-DSC           Document 298       Filed 05/24/11    Page 1 of 3
       Under Federal Rule of Criminal Procedure 6(e)(1)(E)(I), a court may authorize

disclosure “preliminary to or in connection with a judicial proceeding,” Fed. R. Crim. P.

6(e)(1)(E)(I). A court may authorize such disclosure once the movant shows a

“particularized need” for this material and that “the need for disclosure is greater than

the need for continued secrecy.” Douglas Oil Co. v. Petrol Stops Nw., 441 U.S. 211, 222

(1979). Moreover, the movant’s request must be “structured to cover only material so

needed,” and the court considering the request “must consider not only the immediate

effects upon a particular grand jury, but also the possible effect upon future grand

juries.” Id.; see also United States v. Procter & Gamble, 356 U.S. 677, 682 (1958).

       After carefully considering the facts of this case, the motions before the court,

and the applicable law, this Court finds that defendant has articulated “a particularized

showing of need” to cite to the grand jury transcripts in his appellate briefs and include

portions of the grand jury proceeding as part of the joint appendix. The case agent’s role

in securing the indictment during the grand jury proceeding is important under

Defendant’s theory of appeal. This is so even though the case agent did not testify at

trial. Moreover, at this stage of the case, the need for disclosure outweighs the need for

continued secrecy. Therefore, Defendant has met his burden of showing “a

particularized showing of need” to include portions of the grand jury proceeding in the

joint appendix. Further, the Clerk is Ordered to provide counsel for Defendant with a

copy of the Statement of Reasons (Doc. 29).1




       1
         Counsel for Defendant stated that he is unable to secure the Statement of Reasons, Doc.
209, through PACER. As such, the clerk is directed to mail Counsel for Defendant a copy of the
Statement of Reasons (Doc. 209).


   Case 5:05-cr-00258-FDW-DSC            Document 298        Filed 05/24/11     Page 2 of 3
  THEREFORE, IT IS HEREBY ORDERED that:

  (1) Defendant’s Motion to Allow Use of Grand Jury Transcript in Appeal is GRANTED.

  (2) Defendant’s Motion for Provision of Statement of Reasons is GRANTED.



                                       Signed: May 24, 2011




Case 5:05-cr-00258-FDW-DSC       Document 298      Filed 05/24/11    Page 3 of 3
